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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                        District
                                                  __________     of Columbia
                                                              District of __________


               The United States of America                       )
                             Plaintiff                            )
                                v.                                )      Case No.   22-MJ-221
                         John O'Kelly                             )
                            Defendant                             )

                                                      APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          John O'Kelly                                                                                                       .


Date:          11/09/2022                                                                   /s/ Evan Sugar
                                                                                           Attorney’s signature


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